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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

 CHRIS VERNON BLEVINS, JR.,                      )
                                                 )
                  Plaintiff,                     )      Case No. 1:18CV00002
                                                 )
 v.                                              )      ORDER CLOSING CASE
                                                 )
 CABELA’S WHOLESALE, INC., ET                    )      By: James P. Jones
 AL.,                                            )      United States District Judge
            Defendants.                          )


       The court having been advised that a settlement has been reached, the case is

 hereby administratively closed. The court retains jurisdiction for sixty (60) days. If

 desired, the parties may hereafter within such time submit an agreed stipulation,

 final order or judgment. If no such agreed stipulation, final order or judgment is

 timely submitted, and if no party files a motion to reopen the case or to enforce the

 terms of the settlement within such time, this action shall, without further order,

 stand dismissed with prejudice.

       It is so ORDERED.



                                               ENTER: February 11, 2019

                                               /s/ James P. Jones
                                               United States District Judge
